Case 4:18-cr-20012-MFL-SDD ECF No. 51, PageID.953 Filed 01/12/21 Page 1 of 1




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                             Case No. 18-cr-20012
                                                   Hon. Matthew F. Leitman
v.

RYAN ULMAN,

          Defendant.
________________________________________________________________/

                ORDER DENYING DEFENDANT’S
        MOTION FOR COMPASSIONATE RELEASE (ECF No. 35)

      On October 30, 2020, Defendant Ryan Ulman filed a motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). (See Mot., ECF No.

35.) The Court held a hearing on Ulman’s motion on January 12, 2021. For the

reasons stated on the record during the motion hearing, the motion is DENIED.

      IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
Dated: January 12, 2021               UNITED STATES DISTRICT JUDGE

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on January 12, 2021, by electronic means and/or
ordinary mail.

                                      s/Holly A. Monda
                                      Case Manager
                                      (810) 341-9764


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